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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                                REPORT
                                                                    and
           v.                                            RECOMMENDATION
                                                         ------------------------------
MARTELLUS JONES, a/k/a Fat Bob, a/k/a Marty                    DECISION
MAURICE FISHER, a/k/a Reese,                                       and
EMILIO GALARZA, a/k/a Boongo,                                    ORDER
IRVING MITCHELL, a/k/a Gotti,
KAREN PIERCE, a/k/a Karen Burns, a/k/a Momma-Love,              05-CR-173A
SHAUNCEY GALARZA,
DANIELE LIDDLE,
EUGENE DAVIS,

                              Defendants.


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                                         JURISDICTION

       This case was referred to the undersigned by the Hon. Richard J. Arcara on

March 9, 2006 for all pretrial matters, including report and recommendation on

dispositive motions. (Doc. No. 66). The matter is presently before the court for a report

and recommendation on Defendants’ Motions (“Defendants’ Motions”) seeking both

dispositive and nondispositive relief, 1 and on the Government’s motion filed March 20,


       1
            Although Defendants’ motions seek both dispositive and nondispositive relief, the court
addresses all issues in this combined Report and Recommendation and Decision and Order in the interest
of simplicity.

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2006 (Doc. No. 67) (“Government Response”), seeking reciprocal discovery.



                                    BACKGROUND

       Defendant Martellus Jones and seven others, including co-Defendants Maurice

Fisher, Emilio Galarza, Irving Mitchell, Karen Pierce, Shauncey Galarza, Daniele Liddle

and Eugene Davis, were indicted in a four count indictment on July 7, 2005, charging

violations of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 843(b), 846 and 848(a).

(Doc. No. 1) (“the Indictment”). Specifically, Defendant Martellus Jones is alone

charged in Count 1 of the Indictment with knowingly, willfully, intentionally and unlawfully

engaging in a continuing criminal enterprise in violation of 21 U.S.C. § 848(a) (“Count 1"

or “the CCE Count”). Defendants Martellus Jones, Maurice Fisher, Emilio Galarza,

Irving Mitchell, Karen Pierce, Shauncey Galarza, Daniele Liddle and Eugene Davis were

charged with conspiracy to possess with intent to distribute, and to distribute, 50 grams

or more of cocaine in violation of 21 U.S.C. § 846 (“Count 2" or “the Conspiracy Count”).

Defendant Martellus Jones was alone charged with knowingly, intentionally and

unlawfully possessing with intent to distribute and distribute 50 grams or more of

cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A) (“Count 3"). Defendant

Emilio Galarza was alone charged with knowingly, intentionally and unlawfully

possessing with intent to distribute and distribute 5 grams or more of cocaine in violation

of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B) (“Count 4").

       Defendants’ Motions include motions filed by Karen Pierce on March 2, 2006

(Doc. No. 61) (“Pieri Affirmation”), Martellus Jones on March 3, 2006 (Doc. No. 63)

(“Molloy Affirmation”), Maurice Fisher on March 6, 2006 (Doc. No. 64) (“Eoannou

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Affirmation”), Shauncey Galarza on March 7, 2006 (Doc. No. 65) (“Pynn Affirmation”).

The Government filed its Response to Omnibus Motion in opposition to Defendants’

motions on March 20, 2006 (Doc. No. 67) (“Government Response”). At oral argument,

conducted on April 4, 2006, the court granted Defendant Pierce 10 days to file a

supplemental motion challenging the search warrant for 204 Bird Avenue, and ten days

for the Government to respond. 2 (Doc. No. 68). Subsequently, Defendant Pierce filed

a motion to suppress (Doc. No. 69) (“Pieri Affirmation II”) on April 10, 2006. The

Government filed the Government’s Response to Defendant’s Motion to Suppress (Doc.

No. 70) (“Government Response to Motion to Suppress”) on April 20, 2006.

        Defendants’ Motions include requests for suppression of Title III evidence,

suppression of evidence obtained pursuant to various search warrants issued on or

about July 11, 2005, severance, an audibility hearing and disclosure of informant

identities. As indicated, background, supra, at 4 n.2, Defendants submitted certain

requests for non-dispositive relief in their respective motion papers which were

determined at oral argument.

        At oral argument, the court directed all counsel to address any remaining issues

pursuant to Fed.R.Crim.P. 16 (“Rule 16") not previously resolved in a prior court

proceeding or as a result of the extensive discovery voluntarily provided by the

        2
           At oral argument, the court entered an oral order regarding non-dispositive motions as to
Defendants Jones, Fisher, Pierce and Galarza DISMISSING the motions as moot, in part, GRANTING
them, in part, DENYING them, in part, and denying without prejudice to renew before Judge Arcara
Defendant Fisher’s and Pierce’s requests for an audibility hearing. The court DISMISSED Defendant
Galarza’s request for a Bill of Particulars as to paragraph 29a, b, and c of the Pynn Affirmation as MOOT,
but otherwise reserved decision on her request for a Bill of Particulars. Defendants’ requests to join in
motions made by co-Defendants was GRANTED. To the extent that Defendants could not file additional
motions in a timely fashion based on the advent of new information, the court GRANTED Defendants
leave to file additional motions. The court did not address at oral argument Defendant Pierce’s and
Fisher’s requests for disclosure of informant identities.

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Government. (Doc. No. 68). The court DISMISSED (1) all requests for information

pursuant to Rule 16 as to Defendants Pierce and Galarza; (2) requests for a Bill of

Particulars from Defendants Pierce, Fisher and Jones; and (3) Defendants’ requests for

Brady and Giglio material, as the Government represented it understood its obligations

under Brady and stated it will offer Giglio material in a timely fashion. Id. The court

GRANTED (1) Defendants’ request for Fed.R.Evid. 404b (“Rule 404(b)”) material,

directing the Government to provide Rule 404(b) information to Defendants two weeks

before trial unless otherwise directed by the District Judge; (2) Defendants’ requests for

testifying expert information pursuant to Fed.R.Evid. 702 (“Rule 702"), requiring the

Government to provide a summary of testifying experts’ reports and resumès to each

Defendant not later than 30 days prior to trial; and (3) GRANTED the Government’s

motion for reciprocal discovery, requiring Defendants to provide such discovery to the

Government no later than May 4, 2006. The court DENIED the request for Jencks Act

material made by Defendants Fisher and Pierce, noting that it is customary that the

pretrial order of the District Judge include the pretrial disclosure of witness statements

pursuant to 18 U.S.C. § 3500 and stating the court has no authority to require such

disclosure under United States v. Ullah, 2005 WL 629487, * 7 (W.D.N.Y. 2005) (citing

United States v. Scotti, 47 F.3d 1237, 1249-50 (2d Cir. 1995) (denying pretrial

production of Jencks Act material and citing United States v. Sebastian, 497 F.2d

1267, 1269-70 (2d Cir. 1974) (holding the court cannot compel pretrial production of

Jencks Act material)). Also, Defendants Fisher and Galarza withdrew their requests

for severance without prejudice to renew at trial before the Hon. Richard J. Arcara.



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                                             FACTS 3

        The charges in the Indictment arise from an investigation conducted by the Drug

Enforcement Agency (“DEA”) and local law enforcement, including the Buffalo Police

Department (“BPD”) of an alleged cocaine possession and distribution conspiracy.

Defendants Martellus Jones, Maurice Fisher, Emilio Galarza, Irving Mitchell, Karen

Pierce, Shauncey Galarza, Daniele Liddle and Eugene Davis are alleged co-

conspirators in a drug trafficking conspiracy operating in and around Buffalo, New

York. 4 According to the Government, Defendant Jones is the alleged leader of the

narcotics organization known as the “TALIBAN.” During the course of the investigation,

law enforcement officers learned Defendant Jones used telephones subscribed to his

wife, Shauncey Galarza at 26 Wick Street in Buffalo, (716) 888-0930, and a phone

subscribed to by his mother, Karen Burns at 593 Grant Street in Buffalo, (716) 228-

4556, to arrange for the sale of narcotics.

        In September 2004, a confidential source (“CS-1") provided DEA Agents with

information regarding the drug distribution activities of the TALIBAN organization. CS-1

informed agents that Martellus Jones sold large quantities of cocaine and crack cocaine




        3
           Facts are taken from the allegations of the Indictment (Doc. No. 1), the pleadings and papers
filed in connection with the instant action and the Affidavits of Agents Phillip Torre and Joseph
Bongiovanni submitted in connection with 05-CR-174-A, charging Randall Parker and Michael Ray
Jackson with criminal narcotics violations relative to the same narcotics organization, the “TALIBAN.”

        4
           In Agent Bongiovanni’s Affidavit in Support of the Search W arrants in 05-CR-174-A, Shauncey
Galarza is spelled “Chauncey Galarza.” Upon reviewing the papers submitted in connection with 05-CR-
174-A, United States v. Jackson, et al, and 05-CR-173-A, United States v. Jones, et al, the instant case,
the court finds Agent Bongiovanni’s reference to “Chauncey Galarza” is to Defendant Shauncey Galarza.

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in the Western New York area. 5 Also, CS-1 admitted that he/she would contact Jones

via cellular telephone number (716) 228-4556 to purchase cocaine from Jones. CS-1

and Jones would meet at various locations to effect narcotic transactions, including 358

Grant Street in Buffalo, the address of a private club operated by Michael Ray Jackson,

and 598 Grant Street in Buffalo, a residence Jones would frequent. The CS could also

contact Michael Ray Jackson or Karen Pierce, Jones’s mother, to purchase cocaine

and/or crack cocaine. CS-1 stated that Jones would use 593 Grant Street and a

residence in Kenmore, an adjacent suburb, later determined by law enforcement to be

271 Kenmore Avenue in Tonawanda, New York, to further the drug distribution scheme.

CS-1 also correctly identified a blue Ford Expedition driven by Jones, New York State

license plate number DBX-6566, which is registered to Jones’s wife, Shauncey. The

CS’s statement that Jones drove a burgundy four-door Cadillac has also been

confirmed by law enforcement.

        A second confidential source (“CS-2”) met with Drug Enforcement Agent Joseph

Bongiovanni (“Agent Bongiovanni”) and Task Force Agents Michael Wright (“TFA

Wright”) and Thomas Doctor (“TFA Doctor”) in January 2005, stating he/she was an

associate of Defendant Jones who, for the past year, had distributed a substantial

amount of cocaine in Buffalo. The CS provided agents with an accurate description of

Jones and the types of vehicles he drives. Further, the CS stated he/she would meet

Jones at 593 Grant Street, the building wherein Jones’s mother, Karen Pierce, lives, to

        5
            Although not identified by Agent Torre as “CS-1" in his affidavit in support of the search warrant
for (716) 888-0930 and (716) 885-4287 (Torre Affidavit II) in 05-CR-174-A, United States v. Jackson, et
al; a fair reading of Torre Affidavit II together with the Bongiovanni affidavit in support of the search
warrant in 05-CR-174-A leads the court to conclude that the confidential source referred to generically by
Agent Torre as “the CS” is the same person referred to by Agent Bongiovanni as “CS-1.”

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purchase cocaine. According to the CS, the building was used by Jones as one of

several “stash houses” throughout Buffalo for cocaine distribution. Law enforcement

has learned from CS-1 and CS-2 that Maurice Fisher will run the TALIBAN organization

should Jones be incarcerated on a weapons possession charge.

      A third confidential source (“CS-3") informed law enforcement agents involved in

the investigation that Jones distributed cocaine and crack cocaine in Western New

York, and identified Jones’s associates as Maurice Fisher, Randall Parker, Michael Ray

Jackson, Emilio Galarza, and Irving Mitchell. CS-3 identified 204 Bird, 593 Grant Street,

and 20 Baynes Avenue as residences Jones and his associates used for the distribution

of cocaine. CS-3 also stated to the agents that Jones drove a burgundy Cadillac and

blue Expedition, and identified vehicles driven by Maurice Fisher and Emilio Galarza as

a white Cadillac and silver Taurus, respectively.

      Investigators supervised CS-1 and CS-3 in their attempts to arrange and execute

controlled narcotics purchases from members of the TALIBAN organization, including

Martellus Jones and Emilio Galarza, by cellular telephone number (716) 228-4456 and

telephone number (716) 883-4299. Based on the foregoing information, Buffalo Police

Detective and DEA Agent Torre applied to Erie County Court Judge Michael L. D’Amico

for eavesdropping warrants authorizing electronic interception over numbers that

include (716) 888-0930, subscribed to by Shauncey Galarza and used by Jones, and

(716) 228-4556, subscribed to by Karen Burns also used by Jones. On June 10, 2005,

Judge D’Amico issued trap and trace orders for numbers (716) 228-4556, and (716)

578-1158, as well as wiretap warrants for numbers (716) 228-4556 and (716) 578-1148.

On June 22, 2005, Judge D’Amico issued wiretap warrants for (716) 885-4287 and

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(716) 888-0930.

       As noted, Jones, Maurice Fisher, Emilio Galarza, Irving Mitchell , Karen Pierce,

Shauncey Galarza, Daniele Liddle and Eugene Davis, were subsequently charged in a

four count Indictment, filed on July 7, 2005. Thereafter, on July 11, 2005, DEA Agent

Joseph S. Bongiovanni applied to the undersigned for search warrants for

approximately 19 residences and/or buildings. In the instant action, Defendants

challenge the search warrants issued for 271 Kenmore Avenue in Tonawanda 6 and 204

Bird Avenue in Buffalo.



                                          DISCUSSION

I.     Request for Bill of Particulars

       At oral argument on April 4, 2006, the court DISMISSED Defendant Pierce’s,

Fisher’s and Jones’s requests for a Bill of Particulars, as each Defendant admitted

receiving the information they requested in the form of a Bill of Particulars from the

Government through voluminous discovery provided to them. The court also

DISMISSED Defendant Galarza’s request for the date which she allegedly joined the

conspiracy, the identity of known, unnamed co-conspirators and the nature of the

agreement between Galarza and her co-conspirators (Pynn Affirmation ¶ 29 (a),(b),(c),

respectively), but reserved decision on Galarza’s request that the Government



       6
         In the heading of the section in Defendant Shauncey Galarza’s motion papers challenging the
search warrant for her residence on Kenmore Avenue, Galarza identifies the location as “272 Kenmore
Avenue,” however in the text that follows that heading, Galarza describes her residence as 271 Kenmore
Avenue. Also, in Exhibit A, Affidavit of Shauncey Galarza, the premises is identified as 271 Kenmore
Avenue. As such, the court considers Galarza’s reference to 272 Kenmore Avenue to be a typographical
error.

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particularly describe acts she committed in furtherance of the conspiracy. Specifically,

Galarza inquires whether the Government alleges she committed acts in furtherance of

the conspiracy apart from statements Galarza made to her husband over the telephone.

(Pynn Affirmation ¶ 29(d)). Galarza bases her request on a fear of undue surprise at

trial that a witness may describe a drug transaction involving Galarza. The Government

responds there is no evidence of Galarza conducting a hand-to-hand drug transaction,

but states it cannot further reveal the specific acts she allegedly committed in

furtherance of the conspiracy because it is part of the Government’s trial evidence.

(Doc. No. 68). Galarza argues this representation does not rule out the possibility that

the Government may attempt to prove Galarza was involved in a money transaction.

       The test as to whether to order particularization is “whether the information

sought is necessary, not whether it is useful.” United States v. Matos-Peralata, 691

F.Supp. 780, 791 (S.D.N.Y. 1988), aff’d sub nom., United States v. Benitez, 920 F. 2d

1080 (2d Cir. 1990). Courts will not order particularization where the government has

provided the information requested either “in the indictment or some acceptable

alternative form.” United States v. Bortnovsky, 820 F. 2d 572, 574 (2d Cir. 1987);

United States v. Feola, 651 F.Supp. 1068, 1133 (S.D.N.Y. 1987), aff’d, 875 F.2d 857

(2d Cir. 1989), cert. denied, 493 U.S. 834 (1989). A Bill of Particulars should only be

required "where the charges in the indictment are so general that they do not advise the

defendant of the specific acts of which he is accused." Feola, supra, at 1132. Further,

“[a]cquisition of evidentiary detail is not the function of the bill of particulars.” United

States v. Torres, 901 F.2d 205, 234 (2d Cir.), cert. denied, 498 U.S. 906 (1990)

(denying request for bill of particulars identifying unindicted alleged co-conspirators

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referred to in indictment as ‘known and unknown’ on the basis that such information was

unnecessary to advise defendants of the specific acts of which they were accused).

       A defendant does not "need" detailed evidence about a charged conspiracy in

order to prepare for trial properly. Feola, supra, at 1132. Additionally, as the

government can prove the existence of a conspiracy through circumstantial evidence, a

bill of particulars comprised of very specific details is not appropriate. United States v.

Taylor, 707 F.Supp. 696, 699 (S.D.N.Y. 1989).

       The court finds it is unnecessary for the Government to state who may have

transacted drugs with Galarza. However, to the extent that the Government intends to

establish Galarza’s status as a co-conspirator by her engaging in narcotics trafficking or

monetary transactions, the court directs the Government to particularize each date and

approximate time that Galarza conducted a drug transaction or engaged in a monetary

transaction in furtherance or aid of the conspiracy so as to avoid undue surprise at trial.

II.    Disclosure of Informant Identities

       Defendants Fisher and Pierce have requested the Government to provide the

names of informants or cooperating sources who provided information to investigators

in this case concerning the pending charges. Pieri Affirmation ¶¶ 30-31; Eoannou

Affirmation ¶¶ 21-22. Specifically, Defendants assert disclosure is required to enable

Defendants to challenge the informants’ credibility based on factors that include

Government promises of leniency in exchange for informant cooperation. The

Government argues disclosure of informant identities is not required because

“[D]efendants have been provided with the substance of the informants’ testimony”

through disclosure of the Title III applications in this case. Government Response at

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29-30. As such, the Government contends that any further disclosure pertaining to

informant identity and impeachment constitutes Brady and Jencks Act material.7 Id.

        Substantial policy considerations override the need for full disclosure of

informants’ identities. Roviaro v. United States, 353 U.S. 53, 61 (1957) (holding that

informer’s privilege must yield to disclosure at trial if necessary to a “fair determination”).

Disclosure of the identity of confidential informants may be withheld to protect the

anonymity of informants and to secure the informants’ continued cooperation in

furnishing information regarding violations of law. Roviaro, 153 U.S. at 59; United

States v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is

equally permissible to withhold information from which such identity may be inferred and

thus revealed. See Roviaro, supra, at 60. It is well settled that “an informant’s identity

need not be disclosed unless ‘essential to the defense.’” United States v. Morales, 280

F.Supp.2d 262, 271 (S.D.N.Y. 2003) (quoting United States v. Russotti, 746 F.2d 945,

949 (1984) (quoting Scher v. United States, 305 U.S. 251, 254 (1938)).

        In determining whether such disclosure is essential, courts are required to

balance the public’s interest in obtaining information to assist law enforcement against

the defendant’s right to prepare a defense. Roviaro, supra, at 62; United States v.

Jackson, 345 F.3d 59, 70 (2d Cir. 2003), cert. denied, 541 U.S. 956 (2004). A

confidential informant’s identity or the contents of an informant’s communication must

therefore be disclosed if such information is “relevant or helpful” to an accused’s


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          The Government represents it understands its obligations under Brady, but states it does not
presently possess any such material. The Government further represents it will provide Jencks material to
Defendants prior to trial. As the court noted at oral argument, Jencks material is typically provided to
Defendants two weeks prior to trial or at the direction of the District Judge.

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defense at trial, particularly in relation to a potential entrapment defense or a

defendant’s knowledge of the character of the contraband. Roviaro, supra, at 60-61,

64; DiBlasio v. Keane, 932 F.2d 1038, 1042 (2d Cir. 1991); see also United States v.

Jackson, supra, at 69-70 (approving informant identity disclosure to facilitate

entrapment defense to drug sale charge).

       Defendants bear the burden of establishing the need for such disclosure and

such need will be found only upon a demonstration that the absence of such disclosure

will deprive the defendant of a fair trial. Fields, supra, at 324; United States v. Lilla, 699

F.2d 99, 105 (2d Cir. 1983). Nevertheless, the prosecution is not required to disclose

the identity of a confidential informant to assist a defendant in attacking, at pretrial

suppression hearings, probable cause for a warrantless arrest and search. McCray v.

Illinois, 386 U.S. 300, 305 (1967) (no disclosure required, based on evidence, where

presiding judge satisfied that the informant relied upon by arresting officer existed and

was reliable); Roviaro, supra, at 61 (noting cases requiring disclosure where

warrantless searches based on anonymous informants’ information were at issue);

Fields, supra, at 324 (in camera appraisal by trial court of informant’s accuracy to

establish probable cause for warrantless search obviates any need for disclosure of

informant’s identity).

       Disclosure is also warranted where the informant’s testimony is “material to the

defense”. United States v. Saa, 859 F.2d 1067, 1073 (2d Cir. 1988), cert. denied, 489

U.S. 1089 (1989). “Unless the informer’s testimony would be relevant and helpful to the

defense, or essential for a fair trial, the defense motion for the identification of the

whereabouts or production of the informer can be summarily denied.” United States v.

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Turbide, 558 F.2d 1053, 1060 (2d Cir.), cert. denied sub nom., Perez v. United States,

434 U.S. 934 (1977); see also, Roviaro, supra, at 60-61.

       Here, the court finds Defendants have failed to meet their burden establishing the

need for the requested disclosure. Specifically, Defendants have not established that,

absent such disclosure, Defendants will be deprived of a fair trial. Further, other than

Defendants’ contentions that disclosure of informant identities is necessary to

“investigate their allegations, biases, and benefits derived from cooperating with the

government,” Defendants have not shown the informant’s testimony will be a significant

factor in determining the respective Defendant’s guilt or innocence. As such,

Defendants’ requests for disclosure of informant identities are DENIED.

III.   Severance

       Defendants Fisher, Pierce and Shauncey Galarza request separate trials,

pursuant to Fed.R.Crim.P. 14. Eoannou Affirmation ¶¶ 21-22; Pieri Affirmation ¶¶ 32-

33; Pynn Affirmation ¶¶ 22-25. At oral argument, Defendants Fisher and Galarza

withdrew their motions to sever without prejudice to renewal before the District Court

Judge. Doc. No. 68. The court reserved decision on Defendant Pierce’s request for a

severance.

       Counsel for Defendant Pierce contends the evidence connecting Pierce to the

conspiracy is insubstantial and prejudicial to her. Doc. No. 68. Further, Pierce’s

counsel asserts that Defendant Fisher may testify on Pierce’s behalf at a severed trial,

but has presented no affidavit by Fisher so stating. Additionally, counsel for Pierce

could not confirm that Fisher would be willing to testify at a severed trial, acknowledging

only that discussions to this purpose with Fisher’s attorney were currently underway.

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The Government responds generally that Defendants Fisher, Pierce and Galarza have

not shown the requisite prejudice to warrant severed trials. Government Response at

31. Further, the Governments asserts that some prejudice to co-Defendants is

inevitable and permissible, given the judicial economy that results from joint trials.

United States v. Cardascia, 951 F.2d 474, 482-83 (2d Cir. 1991). Finally, the

Government contends Defendants have not shown any co-Defendants are willing to

testify at a severed trial or waive their Fifth Amendment privilege or not testify at a joint

trial. Government Response at 34 (citing United States v. Sliker, 751 F.2d 477, 496 (2d

Cir.), cert. denied sub nom., Buchwald v. United States, 470 U.S. 1058 (1985). Absent

such showing, the Government argues, a separate trial is not warranted.

       A court considering a motion for severance under Fed.R.Crim.P. 14 should make

a two-step inquiry, i.e., "whether joinder of the counts was proper, and if not, whether

misjoinder was prejudicial to the defendant." United States v. Ruiz, 894 F.2d 501, 505

(2d Cir. 1990). If the joinder was proper, the court shall then decide whether the joinder

was prejudicial to the defendant pursuant to Fed.R.Crim.P. 14. Ruiz, supra, at 505. The

decision whether to grant severance is "committed to the sound discretion of the trial

judge." United States v. Casamento, 887 F.2d 1141, 1149 (2d Cir. 1989), cert. denied,

493 U.S. 1081 (1990). “There is a preference in the federal system for joint trials of

defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537

(1993) (narcotics conspiracy case). Joinder of counts in an indictment is proper,

pursuant to Fed.R.Crim.P. 8(a), where two or more persons' criminal acts are “unified by

some substantial identity of facts or participants” or “arise out of a common plan or

scheme” as in a conspiracy case. United States v. Attanasio, 870 F.2d 809, 815 (2d

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Cir. 1989).

       Here, the CCE and Conspiracy Counts are plainly connected as the CCE count

alleges Jones engaged in the criminal enterprise as more fully alleged in the Conspiracy

Count, thereby demonstrating the requisite identity of facts and participants. As such,

the requirement for joinder of counts under Rule 8(a) permitting joinder of counts that

“are of the same or similar character, or are based on the same act or transaction or are

connected with or constitute parts of the same scheme or plan” has been satisfied.

Therefore, as Jones, Fisher, Emilio Galarza, Mitchell, Pierce, Shauncey Galarza, Liddle

and Davis are charged in Counts 1 and 2, neither count, as joined in the Indictment,

violates Rule 8(a) as to these Defendants. Similarly, the substantive 21 U.S.C. § 841

counts, Counts 3 and 4, against Jones and Emilio Galarza, respectively, are also

properly joined as a plain reading of the Indictment demonstrates the violations

occurred during the period the charged conspiracy involving Jones and all other

Defendants and the CCE charge against Jones, alleged in Counts 1 and 2, were

operative. Because the substantive § 841 counts are alleged to have occurred within

the period of the Conspiracy Count and the CCE Count they are also plainly “connected

. . . with the same scheme or plan,” i.e., the CCE and Conspiracy Counts.

Fed.R.Crim.P. 8(a). As such, they are properly joined in the Indictment as authorized

by Rule 8(a). Accordingly, all counts as to Fisher, Pierce and Shauncey Galarza were

properly joined in the Indictment in compliance with Rule 8(a).

       Nevertheless, a court is authorized to sever counts or defendants, pursuant to

Fed.R.Crim.P. 14(a), “[i]f it appears that a defendant . . . is prejudiced by a joinder,”

despite an indictment's facial compliance with Fed.R.Crim.P. 8(a). United States v.

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Feyrer, 333 F.3d 110, 114 (2d Cir. 2003); United States v. Nguyen, 793 F.Supp. 497,

503 (D.N.J. 1992). However, a defendant has a "heavy burden" to show facts

demonstrating that the defendant would be so prejudiced by a joint trial, that the joint

trial would, in effect, deny him or her a fair trial. United States v. Piervinanzi, 1990 WL

139021 * 2 (S.D.N.Y. 1990). Specifically, a defendant requesting severance under

Fed.R.Crim.P. 14 must show substantial prejudice resulting from joinder, not just that he

would have a better chance for acquittal at a separate trial. United States v. Torres, 901

F.2d 205, 230 (2d Cir.), cert. denied sub nom. Cruz v. United States, 498 U.S. 906

(1990); United States v. Villegas, 899 F.2d 1324, 1347 (2d Cir.), cert. denied, 498 U.S.

991 (1990).

       As a ground for severance, Defendant Pierce contends that many co-Defendants

in this case have defense theories that directly conflict with hers. Pieri Affirmation ¶ 35.

However, “the mere fact that codefendants seek to place blame on each other is not the

sort of antagonism that requires a severance.” Further,

              When the challenge to the denial of severance is premised
              on a claim that two defenses were antagonistic, a defendant
              satisfies his burden of showing substantial prejudice only if it
              can be said that “‘the jury, in order to believe the core of
              testimony offered on behalf of [one] defendant, must
              necessarily disbelieve the testimony offered on behalf of his
              co-defendant.’”

United States v. Villegas, 899 F.2d at 1346 (citing United States v. Potamitis, 739 F.2d

784, 790 (2d Cir. 1984) (quoting United States v. Carpentier, 689 F.2d 21, 27-28 (2d

Cir. 1982), cert. denied, 459 U.S. 1108 (1983)). Defendant Pierce fails to explain why

the jury must disbelieve testimony one co-Defendant offers to accept the testimony

proffered by another in support of her defense, nor has Pierce provided any other

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examples to support her request. See Zafiro, supra.

       The Second Circuit has stated that “proof that a co-defendant would waive his

Fifth Amendment privilege and testify at a severed trial” is a factor to consider in

determining whether to grant Defendant’s motion for severance on the ground that a co-

defendant would offer “exculpatory testimony at a separate trial.” United States v.

Cardascia, 951 F.2d 474, 485 (2d Cir. 1991). However, Defendant Pierce does not

state that a joint trial will prevent a co-defendant from providing testimony favorable to

her or that any co-Defendant has agreed to waive their Fifth Amendment privilege and

provide testimony at a separate trial to exculpate Pierce on the charges against her.

Although counsel for Pierce represented at oral argument that he was discussing with

Fisher’s counsel the possibility that Defendant Fisher would testify at a severed trial for

Pierce, counsel admitted there was no agreement to that effect at that time. Upon

reviewing the trial court’s denial of severance motions in United States v. Finkelstein,

526 F.2d 517, 523-24 (2d Cir. 1975), cert. denied sub nom., Scardino v. United States,

425 U.S. 960 (1976), the Second Circuit listed four factors a trial court may consider in

making its determination on a request for separate trials. These include

              (1) the sufficiency of the showing that the co-defendant
              would testify at a severed trial and waive his Fifth
              Amendment privilege . . . (2) the degree to which the
              exculpatory testimony would be cumulative . . . (3) the
              counter arguments of judicial economy . . . and (4) the
              likelihood that the testimony would be subject to substantial,
              damaging impeachment . . .

United States v. Finkelstein, 526 F.2d at 523-24. (Internal citations omitted).

       Here, Defendant Pierce failed to make a sufficient showing that any of her co-

Defendants, including Fisher, would provide exculpatory testimony on Pierce’s behalf

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and waive their Fifth Amendment privilege at a severed trial. The fact that counsel were

merely discussing the possibility of such agreement in the future does not constitute the

requisite agreement at present. Thus, the basis for Pierce’s motion for severance is, at

present, speculative. See Cardascia, supra. Accordingly, Pierce’s motion to sever is

DENIED without prejudice to renewal before the District Judge.

IV.    Suppression of Intercepted Electronic Communications

       Defendants Pierce, Fisher, Jones and Galarza move to suppress any evidence

derived from electronic eavesdropping in this case, arguing that the Intercept Orders

issued by Judge D’Amico authorizing the eavesdropping activity were not supported by

probable cause or necessity in violation of 18 U.S.C. § 2518, and that the interceptions

were not properly minimized in violation of 18 U.S.C. § 2518(5) and New York Criminal

Procedure Law § 700.30(7). Pieri Affirmation ¶¶ 41-49; Eoannou Affirmation ¶¶ 32-40;

Molloy Affirmation ¶¶ 9-18; Pynn Affirmation ¶¶ 5-10. Defendants contend the affidavits

of Agent Torre (1) fail to establish the confidential sources’ reliability (Eoannou

Affirmation ¶¶ 45-46; Molloy Affirmation ¶¶ 13, 15-16); (2) do not demonstrate that

Jones, Galarza or any individual utilized the target telephones for illegal purposes

(Eoannou Affirmation ¶ 47; Pynn Affirmation ¶ 7); (3) the information contained in the

first supporting affidavit may have been stale (Eoannou Affirmation ¶ 45); and (4)

“[i]nsofar as the second [Torre] affidavit relies upon intercepted conversations from the

first [Torre] affidavit, it should also fail,” (Eoannou Affirmation ¶ 48; see also

Government Response at 16).

       The Government disputes these assertions, arguing that (1) the confidential

sources cited in the affidavits underlying the eavesdropping orders are reliable; (2) the

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information contained in the affidavits is not stale; and (3) assuming arguendo that one

or both of the supporting affidavits were not supported by probable cause, Defendants

have not shown that the “good faith” exception to the Exclusionary Rule is inapplicable

to the wiretap order. Government Response at 19-21. The court considers each of

Defendants’ contentions the following order:


A.      Probable Cause

        1.      Reliability of Confidential Informants

        Defendants Fisher and Jones argue that the reliability of the confidential

informants relied upon in the Torre Affidavits was never established, resulting in the

absence of probable cause. Particularly, Fisher states that the June 9, 2005 Torre

Affidavit does not contain information establishing the reliability of the first CS, who

asserted that he/she had contacted Jones on one telephone number, identified in the

requested eavesdropping order, to engage in monthly cocaine purchases. Eoannou

Affirmation ¶ 45. Fisher also challenges the reliability of the second CS in the first

affidavit, alleging there is insufficient information to establish the second CS’s reliability

or source of belief. 8 Id. ¶ 46. According to Fisher, the affidavit does not establish that

other individuals used the target telephones “to engage in illegal activities.” Id. ¶ 47.


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           Fisher alleges that the second CS in the initial supporting affidavit informed Agent Torre that
Fisher operates a club on Grant Street, however, according to Fisher, there is no information in the
affidavit which establishes the second CS’s reliability or the source of the CS’s belief. The court has
reviewed Torre Affidavit I and finds the second CS made no such statement. Rather, the second CS
alleges that Michael Ray Jackson, charged with narcotics violations under 05-CR-174-A, operates a club
on Grant Street. Because counsel for Defendant Fisher also represents Michael Ray Jackson in 05-CR-
174-A, a related matter involving the same investigation, and stated in that case that the second CS
alleged that Jackson operated a social club on Grant Street, the court understands Fisher’s counsel’s
representation that the second CS alleged Fisher operated a club on Grant Street to be an inadvertent
error.

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       Defendant Jones argues it is impossible to establish the reliability of the

confidential informants referred to in the supporting affidavits without knowing their

names and/or identities. Molloy Affirmation ¶ 12. The Government opposes these

contentions, arguing the reliability of the confidential informants is sufficiently

established through a series of controlled narcotics purchases by the CS described in

the affidavits, the background provided on the CS in the affidavits, and the volume of

telephone calls over telephone lines utilized by Jones “which reveal Jones utilizing

phones to communicate with others in order to distribute drugs”. Government

Response at 19, citing Torre Affidavit I pp. 13-15 and Torre Affidavit II pp. 17-21.

       The court finds the reliability of the confidential sources in the first Torre Affidavit

was sufficiently established to support a finding of probable cause for a wiretap

authorizing order. For purposes of establishing probable cause, the Second Circuit

considers an informant to be reliable if such information “is based on reliable means,

such as first-hand observations or second-hand information from reliable sources,

rather than unreliable means such as rumor or innuendo,” and such confidential source

information will be found to be “sufficiently reliable” where it has been “corroborated in

material respects by independent evidence.” United States v. Wagner, 989 F.2d 69, 72-

73 (2d Cir. 1993). Also, statements made by confidential informants which qualify as

admissions against penal interest, including admitting to personal involvement in the

alleged criminal activity or to witnessing criminal activity, is a factor to consider in

establishing informant reliability. United States v. Rowell, 903 F.2d 899, 903 (2d Cir.

1990). The reliability of the confidential informants as to each of the intercept orders

challenged on this basis can be established under one or more of these factors.

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      Here, the information contained in the initial affidavit (“Torre Affidavit I”) as

supplied by the confidential informants was personally obtained by them when the

informants contacted Randall Parker and Defendant Jones over the target telephone

lines to set up and execute controlled drug transactions. Torre Affidavit I ¶¶ 30-48. In

accordance with such phone calls, drug purchases occurred between the CS and

Parker on February 8, 2005 and June 3, 2005, and between the CS and Jones on May

11, 2005. Torre Affidavit I ¶¶ 25 -36, 45-48. The CS attempted to execute a second

controlled drug purchase from Martellus Jones on June 2, 2005 by calling Jones on

number (716) 228-4556. Id. ¶ 44. Jones stated his situation was “slow motion,” which

the CS explained “meant that Jones was out of cocaine.” Id.

      In addition to these controlled buys and attempted purchases, which were

observed by the CS and investigators, the evidence provided by the confidential

sources was “corroborated in material respects by independent evidence.” United

States v. Wagner, 989 F.2d at 72-73. For example, the CS informed Agent Kasprzyk

that Parker is a bartender at Jackson’s Grant Street club, that Parker sold cocaine to

customers there, and that the CS could enter the club and purchase cocaine from

Parker. Torre Affidavit I ¶ 21. On January 28, 2005, the CS executed a controlled, i.e.,

monitored by investigators, buy of cocaine from Parker at Jackson’s club, demonstrating

that these transactions did occur there, and that the CS could make the purchase. Id.

¶¶ 25-29. While in route to make this controlled purchase, the CS conversed with the

driver of the vehicle identified as Martellus Jones. Id. ¶ 27. Although the vehicle was

then registered to Shauncey Galarza, “court sources” confirmed Jones and Galarza are

married. This information corroborated the CS’s averment that CS personally knows

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Jones. Id. ¶ 10. Further, the CS’s initial description of Jones matched the description

contained in Buffalo Police Department Records. Id. ¶¶ 10-11. The CS also accurately

described a vehicle Jones drives as “a burgundy 2000 Cadillac, NY Reg. CWB-8298.”

Id. ¶ 10. A 911 tape regarding a July 17, 2004 criminal incident describes “a maroon

four-door Cadillac, NY Reg. CWB8298, in the driveway of Jones’s residence at the time

(the site of the seizure), 26 Wick Street, Buffalo.” Id. ¶ 12. Records from the state

Department of Motor Vehicles showed the vehicle is registered to Karen Y. Burns, a/k/a

Karen Pierce, “believed to be Jones’[s] mother.” Id. ¶ 13. Thus, it was reasonable to

believe that Pierce, as Jones’s mother, would have given her permission to Jones to

drive the Cadillac.

       In this investigation, confidential sources provided investigators with information

regarding Defendants and others which implicated themselves, as well as Defendants in

drug related offenses. For example, in the Torre Affidavit I, a confidential source told

law enforcement “he/she has been an associate of one MARTELLUS JONES (a/k/a

Marty Jones) in the distribution of significant amounts of cocaine in the Buffalo area,”

Torre Affidavit I ¶ 9, and that CS “purchased cocaine from JONES at 593 Grant Street.”

Id. ¶ 16. In making these statements, the confidential source made admissions against

his/her own penal interest, a factor courts have considered to establish the reliability of

confidential informants. Rowell, 903 F.2d at 903.

       Based on the facts set forth in the Torre Affidavit I, the court finds Detective Torre

supplied County Court Judge D’Amico with facts sufficient to establish the confidential

sources’s reliability.



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       2.     Probable Cause as to Defendants Jones and Shauncey Galarza

       Defendant Jones asserts that Detective Torre’s description in the affidavit

supporting the first eavesdropping order of the drug transaction which occurred between

a confidential informant and Randall Parker in January, 2005 does not establish

probable cause as to Defendant Jones because Jones is not a party “nor a participant in

any drug transaction in January with this informant.” Molloy Affirmation ¶ 14. Similarly,

Shauncey Galarza asserts that, as many of her intercepted phone calls concerned

personal matters such as “going to Wal-Mart to purchase a VCR tape” or “the birth of

their child” (referring to Martellus Jones and herself), the eavesdropping orders were

issued without probable cause as to her. Pynn Affirmation ¶ 7. The Government

argues that the affidavits, taken as a whole, “amply support a showing of probable

cause for the interceptions,” and therefore Defendants’ contentions are meritless.

Government Response at 21.

       The court has reviewed the affidavit describing the January, 2005 drug

transaction in its entirety and finds that, taken as a whole, the affidavit provides ample

probable cause that cellular telephone number (716) 228-4556 is used by Jones and

others to further illegal activity. Significantly, the court notes it was only necessary that

probable cause be established by the application with respect to the target phones, not

necessarily each person to whom the phones were listed or, as Defendants contend,

specific users of the phones. See United States v. Ambrosio, 898 F.Supp. 177, 184-85

(S.D.N.Y. 1995) (citing United States v. Donovan, 429 U.S. 413, 427 n. 15 (1976)).

Contrary to Defendants’ assertions, in seeking electronic eavesdropping orders, the

government is not required to show probable cause with respect to each interceptee.

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Ambrosio, supra, at 183. “The Constitution only requires that the application identify the

telephone line to be tapped and the particular conversations to be seized.” Ambrosio,

supra, at 184.

              Title III requires that a surveillance application include the
              identity of the person, if known, committing the offense and
              whose communications are to be intercepted. 18 U.S.C. §
              2518(1)(b)(iv). The wiretap statute does not require that
              every person whose conversations are intercepted must be
              named in the application nor does it expressly prohibit the
              investigative agency from naming other individuals in the
              application . . .. Rather, the statute’s conditions are satisfied
              as long as the affidavit names an individual for whom there
              is probable cause to suspect criminal activity.

United States v. Trippe, 171 F.Supp.2d 230 (S.D.N.Y. 2001) (underlining added).

       Here, there is substantial evidence contained within the Torre Affidavit I to

support a finding of probable cause that criminal activity will be uncovered by

interception orders for the telephone numbers identified as target numbers in the Torre

Affidavit I, and that criminal activity will be uncovered by intercepting communications of

Defendants over the target phones. All of the controlled drug buys described in the

Torre Affidavit I were initiated through contacting Defendant Jones and Randall Parker,

a TALIBAN associate who is charged with narcotics violations under a related

Indictment, 05-CR-174-A, using the target telephone numbers identified by Agent Torre.

Specifically, the affidavit references a controlled narcotics purchase on May 11, 2005

which required the confidential source (“the CS”) to contact Jones using 228-4556 to

execute the transaction. Torre Affidavit I ¶¶ 38, 41. The CS attempted to arrange

another controlled cocaine purchase on June 2, 2005 by calling Jones on 228-4556,

however Jones indicated he was in “slow motion,” which, the CS informed investigators,


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meant “Jones was out of cocaine.” Id. ¶ 44. Randall Parker was contacted by the CS

on June 3, 2005 over target telephone number (716) 578-1148, pursuant to which a

controlled narcotics purchase was arranged and executed. In addition to the described

controlled purchases, the CS stated he/she contacted Jones “approximately once a

month” using target cellular number (716) 228-4556 to purchase cocaine, Torre

Affidavit I ¶ 14, reflecting the likelihood that criminal activity occurs over these phone

lines.

         In his affidavit, Agent Torre also describes records which were subpoenaed for

(716) 578-1148, one of two target telephone numbers identified in the first supporting

affidavit, which “show more than 2500 calls during the 31 day period, or more than 80

calls average per day,” several of which have been identified as “subscribed to or used

by known drug traffickers.” Torre Affidavit I ¶ 57. Subpoenaed records for (716) 228-

4556, the second target telephone number in the first supporting affidavit, which was

used by Martellus Jones “for the period May 1, 2005 - June 3, 2005" also showed,

according to Torre, that Jones received more than 150 calls per day, on average. Id. ¶

59. Additionally, these records confirmed conversations occurred between Parker’s cell

phone number, (716) 578-1148, a target telephone number, and the telephone number

used by Jones, (716) 228-4556. Id. ¶ 60. Based on the unusually large number of calls

which occurred over the target phone lines and the fact that a reliable confidential

source had contacted Parker and Jones using these same numbers to arrange and

execute drug transactions, Agent Torre concluded that individuals other than

Defendants and the confidential sources had used the target telephone lines to

participate in illegal drug transactions. Torre Affidavit I ¶¶ 62-68.

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       To establish probable cause for the challenged wiretaps, it is necessary that

under the “totality of the circumstances” set forth in the supporting affidavit, there exists

“a fair probability that evidence of a crime will be obtained through the use of electronic

surveillance.” Illinois v. Gates, 462 U.S. at 238-39. Taken as a whole, the information

set forth in the Torre Affidavit I provided ample evidence for Judge D’Amico to believe

that electronic surveillance of the identified telephone numbers would result in the

discovery of criminal activity relating to narcotics sales over the target phones.

       3.     Staleness

       Defendant Fisher asserts the CS’s representation that the CS made monthly

purchases of cocaine from Defendant Jones “in the past” fails to specify when these

purchases occurred. Eoannou Affirmation ¶ 45. Although Fisher does not specifically

allege the information regarding monthly drug purchases from Jones by the CS is or

could be “stale,” the Government construes Fisher’s statement to be a staleness attack

on the initial affidavit. Government Response at 20. Dismissing Fisher’s contention, the

Government responds generally that courts apply more flexible requirements of to

resolve staleness issues raised in narcotics conspiracy cases, id., citing Feola, supra, at

1090-91.

       “‘[T]he principal factors in assessing whether or not the supporting facts have

become stale are the age of those facts and the nature of the conduct alleged to have

violated the law.’” United States v. Rowell, 903 F.2d 899, 903 (2d Cir. 1990) (quoting

United States v. Martino, 664 F.2d 860, 867 (2d Cir. 1981), cert. denied, 458 U.S. 1110

(1982)). “Moreover, ‘[n]arcotics conspiracies are the very paradigm of the continuing

enterprises for which courts have relaxed the temporal requirements of non-staleness.’”

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Rowell, supra (citing Feola, supra, at 1090). In Rowell, supra, the court held that

information as old as 18 months need not be suppressed on the basis of staleness,

particularly with regard to the investigation of a narcotics conspiracy. Rowell, supra, at

903.

       In the instant case, the court finds that although requirements of non-staleness

are generally relaxed in narcotics conspiracy cases, there is no indication in the June 9,

2005 affidavit as to exactly when the CS made monthly purchases from Defendant

Jones. Torre Affidavit I ¶ 14. As such, these reported monthly purchases may or may

not be stale. However, probable cause that criminal activity will be intercepted over the

target telephone lines at issue, (716) 228-4556 and (716) 578-1148, is not based solely

on the CS’s reports of monthly purchases from Defendant Jones which occurred

sometime in the past. Instead, probable cause is established by factors which include

(1) controlled purchases of narcotics arranged by the CS over the target telephone

numbers, including the number the CS allegedly used to contact Jones for monthly

cocaine purchases; (2) telephone records which establish, based on the volume of calls

received on the target telephone numbers, the likelihood that these phone lines are

utilized in furtherance of criminal narcotics activity; and (3) law enforcement’s ability to

corroborate the CS’s allegations through use of other independent investigative

techniques. As such, the specific date which the CS made monthly narcotics purchases

from Defendant Jones using target telephone number (716) 228-4556 is not crucial to

the probable cause underlying the June 9, 2005 affidavit, and Defendant’s assertion that

these purchases may be stale is thus without merit.



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       4.     The Second Torre Affidavit

       As stated, supra, at 20, Defendant Fisher contends that Torre Affidavit II fails to

establish probable cause that criminal activity will be intercepted over the target

telephone numbers insofar as it relies on intercepted conversations from Torre Affidavit

I. Eoannou Affirmation ¶ 48. However, the court has determined, Discussion, supra, at

21-28, that the first Torre Affidavit is amply supported by probable cause. As such,

Defendant’s basis for arguing insufficient probable cause as to the second affidavit is

also meritless.

       5.     Motion for a Franks Hearing

       Defendant Jones moves, in the alternative, for a hearing pursuant to Franks v.

Delaware, 438 U.S. 154 (1978), “to determine the reliability of the information contained

in [Detective Torre’s] supporting affidavits.” Molloy Affirmation ¶ 18. The Government

did not specifically respond to this issue.

       Under Franks, evidence obtained pursuant to a warrant based on materially false

and misleading information is not admissible absent a hearing at which it is determined

whether, setting aside the false statements, sufficient independent evidence was

presented to the judicial officer such that the warrant was, notwithstanding the tainted

information, issued on probable cause. Franks, supra, at 155-56. Moreover, before a

defendant is entitled to a hearing to test the truthfulness of a warrant’s underlying

affidavits, the “defendant must make a ‘substantial preliminary showing’ that: (1) the

claimed inaccuracies or omissions are the result of the affiant’s deliberate falsehood or

reckless disregard for the truth; and (2) the alleged falsehoods or omissions were

necessary to the judge’s probable cause finding.” United States v. Salameh, 152 F.3d

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88, 113 (2d Cir. 1998) (citing United States v. Levasseur, 816 F.2d 37, 43 (2d Cir.

1987)), cert. denied sub nom., Abouhalima v. United States, 525 U.S. 1112 (1999).

Additionally, a hearing is not required where an affidavit in support of a search warrant

application contains material allegedly presented with “deliberate falsity or reckless

disregard” for the truth if “when material that is the subject of the alleged falsity or

reckless disregard is set to one side, there remains sufficient content in the warrant

affidavit to support a finding of probable cause.” Franks, supra, at 171-72; United

States v. Ferguson, 758 F.2d 843, 849 (2d Cir.), cert. denied, 474 U.S. 841 (1985). As

relevant here, Franks has been limited to the statements contained in the affidavit based

on the investigator’s personal knowledge and does not extend to the information an

informant may have provided to the applicant. United States v. Wapnick, 60 F.3d 948,

956 (2d Cir. 1995), cert. denied, 517 U.S. 1187 (1996).

       In this case, Defendant Jones does not allege there were any inaccuracies or

omissions contained in the affidavits supporting the wiretaps, nor does Jones contend

the affiant presented statements in the supporting affidavits with “deliberate falsity or

reckless disregard” for the truth that the issuing judicial officer relied upon in authorizing

the wiretaps. Jones merely questions the necessity for the eavesdropping orders and

the reliability of confidential informants in this case. Molloy Affirmation ¶¶ 13-18. As

such, Jones failed to make a “substantial preliminary showing” that Detective Torre

knowingly and recklessly made false statements in his applications for the

eavesdropping warrants such that there could be no reasonable belief that the warrants

were issued with probable cause. Accordingly, Jones failed to satisfy the requirements

for a Franks hearing and Jones’s request is therefore DENIED.

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B.     Necessity

       Defendants Jones and Fisher challenge the necessity of the two eavesdrop

applications. While Defendant Pierce states that necessity of a wiretap must be

established before its issuance, Pierce does not claim that the wiretap warrants were

issued without a proper showing of necessity. Pieri Affirmation ¶¶ 47-49.

       Defendants Jones and Fisher contend the normal investigative techniques

employed by investigators prior to submitting applications for wiretap orders were

succeeding. Eoannou Affirmation ¶ 50; Molloy Affirmation ¶ 17. Specifically, Defendant

Fisher asserts that law enforcement agents were able to identify the source of supply

and means of distribution in Western New York using ordinary law enforcement

techniques. Eoannou Affirmation ¶ 50. Additionally, Fisher contends the purpose of the

wiretaps were to “provide the identity of persons, presently unknown, who are involved

with Martellus Jones and Randall Parker in the criminal enterprise,” however “the

affidavit provides no probable cause to believe that there were people involved other

than those already listed in the affidavit.” Id. ¶ 54. Further, “the affidavit provides no

probable cause to believe that defendant Fisher used the foregoing telephones to

conduct illegal business or that he was even involved in the alleged drug trafficking

conspiracy.” Id.

       Defendant Jones contends that the significant surveillance of co-conspirators and

their vehicles underway when the eavesdropping orders were applied for may have

realized the goals of the investigation. Molloy Affirmation ¶ 17. Similarly, Jones argues

that the electronic surveillance devices worn by confidential informants may have

recorded the information investigators needed, thereby negating the necessity for the

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wiretap. Id.

       The Government responds that both affidavits describe investigative techniques

which were used or attempted, and the reasons why other techniques were not utilized.

Government Response at 24, citing Torre Affidavit I ¶¶ 62-81 and Torre Affidavit II ¶¶

92-141. 9 Additionally, the Government contends the affidavits in this case, in

compliance with 18 U.S.C. § 2518(1)(c) (“§ 2518(1)(c)), list techniques which had “been

tried and failed, or why they reasonably appear[ed] to be unlikely to succeed, or

[determined] to be too dangerous.” Government Response at 24. Such investigative

techniques include the use of search warrants, pen register information, undercover

agents, grand jury subpoenas, informants, physical surveillance and target interviews.

Id. at 25. The Government therefore maintains that this information, as provided to

Judge D’Amico, provided facts which “were more than minimally adequate” to determine

the necessity of the requested electronic surveillance. Id.at 25-26. The Government

further contends that electronic surveillance was necessary to obtain a conviction of the

members of the TALIBAN narcotics conspiracy. Id. at 25. Similar affidavits, stating that

despite use of visual surveillance and pen registers employed against suspected

members of the conspiracy for several months during the interceptions and the receipt

of informant information, agents were unable to determine the extent of a drug

trafficking conspiracy, have been held sufficient to establish the need for an intercept

order. See United States v. Torres, 901 F.2d at 231-32; United States v. Young, 822



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          The Government identifies these portions of the affidavits as pages 62-81 and pages 92-141,
however the court has reviewed the affidavits and understands the Government to refer to ¶¶ 62-81 of
Torre Affidavit I and ¶¶ 92-141 of Torre Affidavit II.

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F.2d 1234, 1237 (2d Cir. 1987); United States v. Puglisi, 790 F.2d 240, 241-42 (2d Cir.),

cert. denied, 479 U.S. 827 (1986).

       As required by §2518(1)(c), an application for an electronic intercept order must

contain “a full and complete statement as to whether or not other investigative

procedures have been tried and failed or why they reasonably appear unlikely to

succeed if tried or to be too dangerous.” The purpose of this requirement is not to

render electronic surveillance an investigative tool of last resort, but to apprise the

judicial officer of the progress of the investigation and the difficulties inherent in the use

of normal investigative techniques. United States v. Torres, 901 F.2d 205, 231 (2d Cir.

1990), cert. denied sub nom., Cruz v. United States, 498 U.S. 906 (1990). Thus, courts

have held that the affidavit must be viewed “as a whole” in a practical, common sense

and realistic fashion. United States v. Steinberg, 525 F.2d 1126, 1130 (2d Cir. 1975),

cert. denied, 425 U.S. 971 (1976). The statute does not require that all possible

techniques be exhausted in fact before a wiretap may be authorized, but, rather, “[a]n

affidavit describing the standard techniques that have been tried and facts

demonstrating why they are no longer effective is sufficient to support an eavesdropping

order even if every possible means of the investigation has not been exhausted.”

United States v. Terry, 702 F.2d 299, 310 (2d Cir.), cert. denied sub nom. Williams v.

United States, 461 U.S. 931 (1983).

       In this case, each intercept application includes an affidavit from DEA Agent

Torre, who was directly involved in the investigation of the alleged narcotics trafficking

conspiracy, detailing why certain attempted investigative techniques are inadequate and

why other investigative techniques are not likely to be effective. For example, according

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to Agent Torre, during attempts to conduct surveillance on Jones, Jones drove

evasively to elude investigators and utilized look-outs for counter-surveillance. Torre

Affidavit I ¶¶ 72(e), (g); Torre Affidavit II ¶¶ 123(e), (h). Additionally, Agent Torre

averred that close surveillance of Jones was impossible because Jones could identify

several local agents and officers involved in the investigation based on a prior arrest

record. Torre Affidavit I ¶ (f); Torre Affidavit II ¶ 123(g). Agent Torre further averred

that the full extent of the conspiracy, including the identity of all of its accomplices and

co-conspirators, could not be readily determined from normal investigative techniques.

Torre Affidavit I ¶ 72 (c); Torre Affidavit II ¶ 123. Particularly, Torre explained that

physical surveillance of Jones without corresponding telephone surveillance will not

reveal the full scope of the conspiracy as investigators will be unable to link new people

and addresses to the conspiracy. Torre Affidavit I ¶ 72 (c); Torre Affidavit II ¶ 123 (c).

Also, “[s]treet activity linked to intercepted drug-related conversations . . . can enable

the identification of parties, vehicles and premises connected to the drug enterprise.”

Torre Affidavit I ¶ 72(b); Torre Affidavit II ¶ 123 (b).

       Torre further stated that any search and seizure alone would not reveal “the

ultimate source of the narcotics, the identity of all the players, or even all the local

storage locations, and may not result in the seizure of any additional drugs.” Torre

Affidavit I ¶ 72 (m)-(n); Torre Affidavit II ¶ 123 (I). According to Agent Torre, limiting the

investigation to search warrants would result in the prosecution of the drug transporter,

not other members of the network or Defendants’ source of supply. Torre Affidavit II ¶

123 (I). Further, based on his experience prosecuting drug conspiracies, Torre avers

that such search and seizure without corresponding wiretap surveillance would not

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produce evidence sufficient to obtain convictions of Jones’s co-conspirators. Torre

Affidavit I ¶ 72 (m); Torre Affidavit II ¶ 123 (m). Nor would typical searches and seizures

produce “the identities of drug users or couriers.” Torre Affidavit II ¶ 123 (m). Instead,

investigators would likely uncover coded names and numbers which, without telephone

interception, would be unattributable to specific “distributors, buyers, wholesalers or

financiers” of the organization. Torre Affidavit I ¶ 72 (m); Torre Affidavit II ¶ 123 (m).

       According to Agent Torre, interrogating parties to observed drug transactions

would likewise be unavailing because it would reveal the existence of the investigation

to members of the TALIBAN organization and result in changed “methods and places of

their operation.” Torre Affidavit I ¶ 72 (l); Torre Affidavit II ¶ 123 (k). Torre also stated

that a grand jury investigation would be unproductive because immunized witnesses

would be unlikely to cooperate. Torre Affidavit II ¶ 123 (l). Finally, Torre averred that,

based on Torre’s experience with narcotics trafficking investigations, “a cocaine dealer

is extremely guarded about his source as his customers would purchase directly from

the same and eliminate the dealer’s profit.” Torre Affidavit I ¶ 72(k). This statement

undermines the notion that Martellus Jones and other co-defendants would willingly

reveal their sources of supply to confidential informants who may use monitoring

devices during controlled drug buys. Based on these averments, it is clear that Judge

D’Amico had a sufficient basis for determining that significant surveillance of Jones’s

co-conspirators and their vehicles, which was underway when the wiretap orders were

applied for and issued, would not alone realize the objectives of the investigation.

       Although Agent Torre made averments concerning the failure or impracticality of

many normal investigative techniques considered during the course of this investigation,

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Jones nevertheless asserts, as discussed, Discussion, supra, at 33, 36, that Torre fails

to explain why confidential informants wearing electronic surveillance devices while

executing controlled drug buys could not have retrieved the same information

investigators sought from the instant wiretaps. Molloy Affirmation ¶ 17. In support of

his contention, Jones relies on Torre’s initial affidavit, in which Torre stated that

confidential informants were provided with transmitters “so the CS’s conversations and

situations could be monitored by investigators” during controlled drug buys. Torre

Affidavit I ¶¶ 25, 40, 46. Jones therefore argues that the Government does not explain

why confidential informants could not obtain this information through consensually

monitored telephone conversations. Id. There is no merit in Jones’s argument.

       In United States v. Steinberg, 525 F.2d 1126 (2d Cir. 1975), cert. denied, 425

U.S. 971 (1976), the defendant attacked the necessity of the wiretap application,

arguing “the order did not contain the requisite full and complete statement as to

whether or not other investigative procedures have been tried and failed or why they

reasonably appear to be unlikely to succeed if tried or to be too dangerous.” Steinberg,

525 F.2d at 1129 (2d Cir. 1975). The court held that although the affidavit contained

“little factual basis for concluding that normal investigative techniques had not suffice(d)

to expose the crime . . . [w]e must view the affidavit as a whole and in a practical and

common sense fashion.” Steinberg, supra, at 1130.

       In the instant case, Detective Torre’s Affidavits contain the statement that

“[n]ormal investigative procedures reasonably appear to be unlikely to succeed in

obtaining the evidence sought and/or would be too dangerous based upon the facts and

for the reasons stated in the annexed affidavit.” Torre Affidavit I ¶ 6; Torre Affidavit II ¶

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7. Although this statement may not completely satisfy the “full and complete statement”

requirement under 18 U.S.C. § 2518 (1)(c), the Torre Affidavits contain a lengthy

analysis of the inadequacy of normal investigative techniques in the investigation, to

supplement Torre’s statements. In United States v. Falcone, 364 F.Supp. 877, 889

(D.N.J. 1973), aff’d, 500 F.2d 1401 (3d Cir. 1974) the court found that where statements

in the applications concerning “normal investigative procedures” were not “full and

complete statements” by themselves, information contained in the supporting affidavits

sufficiently supplemented these statements to satisfy the “full and complete statement”

requirement. As such, the court finds Agent Torre’s exhaustive list and analysis of

normal investigative techniques sufficiently demonstrated the necessity for the wiretap

order in this case. Steinberg, supra, at 1130 (“We are satisfied that the Government

has substantially complied with the statutory mandate”).

       In cases where “the telephone is routinely relied on to conduct the criminal

enterprise under investigation,” the Second Circuit has found wiretapping to be

“particularly appropriate.” United States v. Young, 822 F.2d 1234, 1237 (2d Cir. 1987)

(quoting Steinberg, 525 F.2d 1126). In his first affidavit, Agent Torre explains that,

based on his experience and participation in narcotics investigations, Torre knows that

telephones, cell-phones and pagers are used to facilitate the distribution of illegal

narcotics. Torre Affidavit I ¶ 2. Torre further stated that, based on his past experience

with drug distribution networks and the facts of this case, communications concerning

and arranging drug transactions will continue to occur once the eavesdropping order

has been authorized. Id. ¶ 76. Specifically, Agent Torre averred that, “in recent years,

narcotics dealers in the Buffalo area have made frequent use of telephones, mobile

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telephones, and paging devices, often in combination with each other,” id. ¶ 65, and

that, based upon his personal experience, Torre also knows that “conventional search

and seizure likely would not produce sufficient evidence on which to base drug

convictions of JONES’ [sic] and/or PARKER’S co-conspirators because any drug

distribution records that might be obtained through the execution of a search warrant

would most likely contain coded names and numbers.” Id. ¶ 72(m). Torre therefore

represented to Judge D’Amico that the only way to obtain the enterprise’s “locations,

participants and conduct” of the network is through telephone interception. Torre

Affidavit I ¶ 75(n). As such, given the wide-spread nature of the conspiracy, the court

finds the wiretapping at issue to have been “particularly appropriate” in this case.

Young, supra, at 1237.

       Fisher also argues the wiretaps were unnecessary in this case because “law

enforcement was also aware of the source of the cocaine and how the cocaine was

distributed in the Western District of New York.” Eoannou Affirmation ¶ 53. In his initial

affidavit, Agent Torre stated “MARTELLUS JONES once told the CS that his cocaine

source was in California,” whom the Task Force identified as Eduardo Medina and

Nelson Medina. Torre Affidavit I ¶¶ 49, 51. Torre further averred that “[o]ther

confidential sources and cooperating defendants who are familiar with JONES and his

TALIBAN GANG” have stated Parker and Jackson have “an independent cocaine

source described as a Hispanic male based in Columbus, Ohio.” Id. ¶ 49. This

information demonstrates that members of the TALIBAN organization had more than

one out-of-state source of supply. Because the affidavits stated the known sources of

supply were for Jones, Parker and Jackson and did not name sources of supply for the

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other co-Defendants, Judge D’Amico could reasonably infer that the sources of supply

for the other co-Defendants were not known. As such, Torre’s averment in Torre

Affidavit I that telephone surveillance was necessary for an accurate determination of all

co-conspirator identities, their buyers and respective sources of supply, was valid.

Torre Affidavit I ¶ 132. Thus, there is no merit to Defendants’ challenges to the wiretap

authorization on this ground.



C.     Minimization

      Defendant Galarza argues that agents failed to minimize intercepted

communications as required by the terms of the warrant, New York Criminal Procedure

Law § 700.37(7) (§ 700.37(7)) and 18 U.S.C. § 2518(5) (“§ 2518(5)”). Pynn Affirmation

¶ 10. The court’s consideration of this ground for suppression is hampered by

Defendants’ failure to state more precisely which call or series of calls Defendants

contend violate the minimization requirement of § 2518(5). Id. In determining

admissibility of evidence in federal court, it is well-settled that “federal law is applicable

in a federal prosecution even when there has been state involvement in the case.”

United States v. Pforzenheimer, 826 F.2d 200, 203 (2d Cir. 1987); see also Elkins v.

United States, 364 U.S. 206, 224 (1960); United States v. Rowell, 903 F.2d 899, 902

(2d Cir. 1990). Thus, the court applies federal law governing admissibility of evidence

to its consideration of proper minimization in this case.

       Upon a defendant's claim under § 2518(5)’s that minimization requirements were

not met, the court must determine whether the actions of the agents conducting the

telephonic surveillance were reasonable under the circumstances. Scott v. United

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States, 436 U.S. 128, 137 (1978). It is the government's burden to make a prima facie

showing of compliance with § 2518(5)’s minimization requirements. United States v.

Rizzo, 491 F.2d 215, 217 n.7 (2d Cir.), cert. denied, 416 U.S. 990 (1974); United States

v. Baker, 443 F.Supp. 526, 531 (S.D.N.Y. 1977). Once a prima facie showing is made,

the burden shifts to the defendant to show that, despite a good faith compliance with the

minimization requirements, "substantial unreasonable interception of non-pertinent

conversations occurred," to the extent warranting suppression of evidence. United

States v. Ianiello, 621 F. Supp. 1455, 1470 (S.D.N.Y. 1985), aff'd, 824 F.2d 203 (2d Cir.

1987).

         In determining the reasonableness of investigators’ compliance with § 2518(5)’s

minimization requirement, the Supreme Court stated that "blind reliance on the

percentage of non-pertinent calls is not a sure guide to the correct answer. . .there are

surely cases . . . where the percentage of non-pertinent calls is relatively high and yet

their interception was still reasonable." Scott, 436 U.S. at 140. In analyzing the

reasonableness of the implementation of the intercepts of investigators, the court must

consider such factors as the extent of the conspiracy and number of co-conspirators

under surveillance, the stage of the investigation, the length of the conversations being

monitored, and the use to which the telephone is typically put by the conspiracy. Scott,

supra, at 140-42.

         Even in situations where the percentage of non-pertinent calls is arguably large,

interception may nonetheless be reasonable. Scott, 436 U.S. at 140. For example,

many non-pertinent calls may be short in duration or have been only one-time calls. Id.

Moreover, incomplete conversations for which there was no answer or conversations

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lasting less than two minutes need not be minimized, as such a short time frame is "too

brief a period for an eavesdropper even with experience to identify the caller and

characterize the conversation." United States v. Capra, 501 F.2d 267, 275-76 (2d Cir.

1974), cert. denied, 420 U.S. 990 (1975). Also, many of the alleged non-pertinent calls

may be ambiguous in nature or in coded language. Scott, supra, at 140. Further,

conversations using coded language may make correct characterization of the

conversation, and thus any opportunity to minimize, impossible until the termination of

the call. United States v. Millan, 817 F. Supp. 1072, 1080 (S.D.N.Y. 1993). Under

these circumstances, it would be difficult for agents to realize such calls were non-

pertinent prior to their termination. Scott, 436 U.S. at 141-42; see also United States v.

Bynum, 485 F.2d 490, 501 (2d Cir. 1973) (in large scale drug conspiracy case,

conversations under two minutes “would be too brief a period for an eavesdropper even

with experience to identify the caller and characterize the conversation as merely social

or possibly tainted”), vacated and remanded on other grounds, 417 U.S. 903 (1974).

       In the instant case, the Intercept Orders required that all intercepted

communications (1) be restricted to communications related to enumerated criminal

offenses, (2) minimize interception of conversations which are not subject to the

eavesdropping order, and (3) terminate thirty days from the issuance of the order or

when sufficient evidence is collected to prove the extent of the narcotics organization

and the identities of all its participants, whichever is sooner. See, e.g., June 22, 2005

Intercept Order for telephone number (716) 885-4287 at 3.

       In this case, Defendant Galarza has failed to point to any examples that, based

on the record, demonstrate a material failure to minimize warranting suppression.

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Pierce does state that many intercepted calls were “of a purely personal nature such as

discussing moving, going to Wal-Mart to purchase a VCR tape, and the birth of their

child” (referring to Galarza and Jones’s child). Pynn Affirmation ¶ 7. However, as the

court noted in its discussion of the issue of non-pertinent, intercepted calls, Discussion,

supra, at 39-42, non-pertinent calls may properly be intercepted under a variety of

circumstances. As stated, these calls may include non-pertinent calls under two

minutes pursuant to which investigators have not had a chance to “identify the caller or

characterize the conversation” and calls that are ambiguous in nature or use coded

language. Scott, 436 U.S. at 140; Capra, 501 F.2d at 275-76. Without viewing in full

the context of the intercepted conversations at issue, the court cannot find that these

allegedly non-pertinent calls, which have not been specifically identified by Defendant

Galarza, are a clear violation of the investigators’ duty to minimize intecepted

communications. Accordingly, the court finds there has been no showing that the

agents’ minimization efforts were sufficiently unreasonable thereby warranting

suppression. See United States v. Badalamenti, 1985 WL 2572, *7 (S.D.N.Y. 1985)

(mere fact that wiretap is conducted does not justify minimization hearing "where no

colorable issue has been raised by the papers"). In the absence of any evidence that a

substantial number of non-pertinent calls were intercepted unreasonably, no

minimization hearing is necessary. United States v. Cirillo, 499 F.2d 872, 881 (2d Cir.),

cert. denied, 419 U.S. 1056 (1974). Although the Government has failed to meet its

burden pursuant to § 2518(5) to demonstrate its compliance with statutory minimization

requirements, the court finds that Defendant Galarza has also failed to meet her burden

to demonstrate a violation of § 2518(5). As noted, Defendant Galarza carries the

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burden to establish the asserted non-compliance with statutory wiretap requirements.

United States v. Ianiello, 621 F. Supp. 1455, 1470 (S.D.N.Y.), aff'd, 824 F.2d 203 (2d.

Cir. 1987).

       Even if the investigating agents failed to use reasonable efforts to minimize

particular intercepted communications as Defendant Galarza claims, suppression of all

communications intercepted pursuant to any of the challenged Intercept Orders is not

the proper remedy absent a “pervasive disregard of the minimization requirement.”

Cirillo, supra, at 881 n.7; United States v. McGuinness, 764 F.Supp. 888, 900 (S.D.N.Y.

1991) (holding exclusion of all evidence obtained through electronic intercept order

because of inclusion of some irrelevant conversations, even if irrelevant conversations

were listened to in their entirety, is not necessary provided investigating law

enforcement officers make good faith effort to achieve minimization). Rather,

suppression of all evidence obtained under an Title III intercept order is warranted only

when, at a minimum, "a substantial number of non-pertinent conversations ha[ve] been

intercepted unreasonably." 10 Cirillo, 499 F.2d at 881 (affirming district court’s denial of

defendant’s suppression motion based on failure to minimize, without holding full

adversary-type hearing, in the absence of evidence that substantial number of non-

pertinent conversations had been intercepted unreasonably). Defendant Galarza points

to nothing to indicate a pervasive disregard of the minimization requirement in this case.

As such, Galarza’s motion to suppress on this ground should be DENIED.




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            Bracketed material added.

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V.      Suppression of Evidence Obtained From Search Warrants

        Defendants Shauncey Galarza and Pierce also challenge evidence obtained from

the search warrants in this case. The court addresses Defendants’ challenges in order.

        A.      Defendant Galarza’s challenge to evidence obtained pursuant to the
                search warrant executed on July 12, 2005 at her residence, 271
                Kenmore Avenue in Tonawanda.

        Defendant Galarza argues that evidence obtained pursuant to the warrant for

Galarza’s residence at 271 Kenmore Avenue in Tonawanda, New York, must be

suppressed. Pynn Affirmation ¶ 11. Specifically, Galarza contends that the phone calls

monitored by law enforcement which provide part of the probable cause basis for the

search warrant directed to Galarza’s residence were calls made from mobile phones

and as such, “could have been placed or received anywhere.” Id. ¶ 18. Galarza further

asserts that the Government’s reliance on a conversation between Defendant Jones

and Shauncey Galarza, his wife, during which he instructs her to “grab that and put it all

together and . . . make it all in one so I mean it ain’t everywhere just in case. I need to

open that shit up and put it down the toilet just in case if it happen,” is insufficient to

establish probable cause to search Galarza’s residence, even when considered with

other evidence. Pynn Affirmation ¶¶ 16, 19. Finally, Galarza argues there is no

evidence to support the investigators’ belief that Daniel Piccuilla, an acquaintance of

Jones whose information Agent Bongiovanni relies upon in support of the search

warrant, is involved in drug trafficking. Pynn Affirmation ¶¶ 17, 19. 11 Galarza contends

the only other evidence the agent relied upon to justify the search warrant is Agent


        11
          Specifically, Galarza maintains that Jones’s request that Piccuilla call the “Spanish boys for me”
does not establish Piccuilla’s involvement in drug trafficking. Pynn Affirmation ¶ 17.

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Bogiovanni’s “expert opinion” of what is usually discovered at drug trafficker’s

residences; however, according to Galarza, an agent’s “expert opinion” is insufficient, by

itself, to establish probable cause. Id. ¶ 19. In opposing Galarza’s contention, the

Government argues that Agent Bongiovanni’s affidavit supports a finding of probable

cause for the search warrant and contends that, assuming, arguendo, the agent’s

affidavit lacked the requisite probable cause required for the warrant’s issuance, “the

warrant was not so facially lacking in probable cause as to preclude the executing

officer’s good faith reliance thereon.” Government Response at 38 (relying on United

States v. Leon, 468 U.S. 897, 922-23 (1984)).

       The Supreme Court has established the “totality of the circumstances” test for the

determination of probable cause under the Fourth Amendment with regard to a search

warrant. Illinois v. Gates, 462 U.S. 213, 238 (1983). The issuing judicial officer must

“make a practical, common-sense decision whether, given all the circumstances set

forth in the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of

persons supplying hearsay information, there is a fair probability that contraband or

evidence of a crime will be found in a particular place.” Id. Further, resolution of

marginal cases should be determined by the preference afforded to warrants. United

States v. Smith, 9 F.3d 1007, 1012 (2d Cir. 1993). An affidavit in support of an

application for an eavesdropping warrant demonstrates probable cause when it sets

forth facts which are sufficient, under the circumstances, to indicate a fair probability of

criminal activity. United States v. Rowell, 903 F.2d 899, 902 (2d Cir. 1990) (citing

Gates, supra, at 236). Further, a judge's determination of probable cause should be

given great deference by a reviewing court. Gates, supra, at 236; United States v.

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Nichols, 912 F.2d 598, 602 (2d Cir. 1990). The resolution of close cases should be

determined by the preference accorded to warrants. Smith, 9 F.3d at 1012.

       The court finds that, under the totality of the circumstances standard enunciated

by Gates, supra, the warrant issued for 271 Kenmore Avenue was based upon probable

cause. Specifically, the court disagrees with Galarza’s assessment of the evidence in

the affidavit, and finds, contrary to Galarza’s position, the conversation between Jones

and Galarza regarding collecting items so Jones can “put it down the toilet, just in case”

fairly points to possession by Jones and Galarza of illegal drugs. The court further

notes that Galarza fails to mention Jones’s earlier instructions to Galarza in that same

conversation, that “[y]ou know that cabinet I always be going in . . . you gotta look up in

the second shelf and it is behind that and put all that together.” Bongiovanni Affidavit ¶

33(A). In the background information provided in paragraphs 30-32 of his affidavit,

Agent Bongiovanni explained why he believed that 271 Kenmore Avenue is the primary

residence of Jones and Galarza. As such, and in context, the court finds Jones was

directly referring to a location within Galarza’s residence, 271 Kenmore Avenue, where

drugs were stored. Therefore, the fact that this call may have been placed from Jones’s

mobile phone is irrelevant to whether it was reasonable to believe there was grounds to

search the Jones-Galarza residence for narcotics.

       In addition to the incriminating conversations between Jones and Galarza

intercepted by law enforcement, Agent Bongiovanni averred that, based on his training

and experience, narcotics, narcotic proceeds, records and weapons are typically found

at drug traffickers’ residences. Bongiovanni Affidavit ¶ 34. Further, in a schedule of

items to be seized attached to the affidavit, Bongiovanni lists “[b]ooks, records, receipts,

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notes, ledgers, airline tickets, money orders and other papers relating to the

transportation, ordering, sale and distributions of controlled substances” among the

items for which authorization should be given to search and seize. In United States v.

Fama, supra, the Second Circuit held

                While probable cause to arrest does not necessarily give rise
                to probable cause to search . . . [the affiant] had stated in the
                affidavit that his ten year experience as a DEA agent had
                taught him the major drug traffickers frequently maintain at
                their homes large amounts of cash, drugs, books, ledgers,
                and other documents evidencing their criminal activities. A
                number of cases have ruled that an agent’s expert opinion is
                an important factor to be considered by the Judge reviewing
                a warrant application. *** Thus it should also be a factor
                contributing to objective good faith. 12

United States v. Fama, 758 F.2d 834, 838 (2d Cir. 1985) (internal citations omitted); Id.

¶ 106(h) .

       Based on the holding in Fama, supra, that an agent’s expert opinion that drug

traffickers typically maintain “large amounts of cash, drugs, books, ledgers, and other

documents evidencing their criminal activities . . . should be considered a factor

contributing to objective good faith,” in believing probable cause had been established,

and because the challenged search warrant authorized the executing agents to search

not only for quantities of cocaine, but also for “books, records, receipts, etc.” at the

Jones-Galarza residence at 271 Kenmore Avenue in Tonawanda, the court finds the

absence of any specific information connecting suspected drugs to the residence in the

agent’s supporting affidavit does not invalidate the search warrant. See Fama, 758

F.2d at 838. Judge D’Amico thus properly inferred, relying on Agent Bongiovanni’s


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            Bracketed material added.

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experience as stated in the affidavit, that Jones’s residence would yield evidence of

narcotics trafficking. Fama, 758 F.2d at 838 (court considered opinion of agent

employed by the DEA for 10 years that “major drug traffickers frequently maintain at

their homes large amounts of cash, drugs, books, ledgers and other documents

evidencing their criminal activities” a factor contributing to “objective good faith”); United

States v. Dillon, 810 F. Supp. 57, 62 (W.D.N.Y. 1992) (court found evidence uncovered

by canine sniff in Buffalo airport and magistrate judge’s reliance on Buffalo police

officer’s six-year experience as a DEA agent reasonable to support probable cause

determination underlying warrant application for Defendant’s residence). As Fama

supports issuance of the search warrant directed to a narcotics trafficker’s home,

Galarza’s motion directed to the search of her residence must fail.

       Finally, assuming, arguendo, that Bongiovanni’s affidavit lacked the requisite

probable cause, Galarza fails to explain why the officer’s reliance on the warrant does

not qualify under the good faith exception to the exclusionary rule as stated in United

States v. Leon, 468 U.S. 897, 922-23 (1984). Galarza’s motion to suppress should,

therefore, be DENIED.



       B.     Defendant Karen Pierce’s challenge to evidence obtained pursuant
              to the search warrant executed on July 11, 2005 at 204 Bird Avenue
              in Buffalo, New York

              Defendant Pierce challenges the sufficiency of the search warrant issued

for 204 Bird Avenue in Buffalo on the ground that there is no evidence that the

undersigned issued the warrant, as the warrant was not signed by the judicial officer.

Pieri Affirmation II ¶¶ 4-7. The Government acknowledges that the warrant was

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unsigned, but contends “there is ample evidence from the face of the warrant itself that

it was reviewed by Magistrate Judge Foschio.” Government Response to Motion to

Suppress at 1. Specifically, the Government asserts there are three areas on the face

of the warrant and one at the end of the attachment where the undersigned initialed the

warrant and used the abbreviation USMJ “for United States Magistrate Judge.” Id. at 2.

The Government notes that for a total of 19 search warrants issued in this case, the

same affidavit was signed by the undersignedin support of the search warrants. Id.,

FN3. Finally, the Government contends the application and affidavit for the search

warrant for 204 Bird Avenue was executed by the undersigned.

       According to the Government, these facts are significant because “the language

contained in the “WHEREFORE” clause of the affidavit . . . believes that probable cause

exists for and, therefore, requests that a search of the locations referenced in the

affidavit (including 204 Bird Avenue) be searched.” Id. at 2. The Government argues

the undersigned’s signature on the affidavit demonstrated the court’s intent to issue the

requested warrant based upon Agent Bongiovanni’s averments. Id. The Government

therefore argues it was the court’s intention to sign the search warrant for 204 Bird

Avenue in Buffalo but that the failure to do so does not vitiate the warrant. Id.

       The Government alternatively argues that, notwithstanding the absence of a

signature, it was reasonable for agents to rely on the warrant in “good faith”, pursuant to

United States v. Leon, 468 U.S. 897 (1984). The Government relies on Massachusetts

v. Sheppard, 468 U.S. 981 (1984), wherein the Supreme Court refused to suppress

evidence from the search based on a clerical defect made by the issuing Judge.

Government Response to Motion to Suppress at 4. Finally, the Government argues the

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purpose of the exclusionary rule is to deter unlawful police searches, “not to punish

errors of Magistrates and judges,” quoting Illinois v. Gates, 462 U.S. 213, 263 (1983).

Id. Thus, the Government maintains because the undersigned, the Magistrate Judge

who reviewed the search warrant application, affidavit and warrant indicated with

handwritten initials on the face of the warrant an intent to sign the warrant, and “the

agents acted reasonably,” the warrant should be sustained, and the evidence obtained

pursuant to the warrant is not subject to suppression. Government Response to Motion

to Suppress at 4.

       In United States v. Turner, 558 F.2d 46, 51 (2d Cir. 1977), defendant similarly

argued that the warrant was not “issued” pursuant to Rule 41 because the issuing

magistrate failed to personally sign the warrant, instead commissioning a Customs

Agent to affix the judge’s signature at the judge’s direction. The Turner court held

suppression for a Rule 41 violation is justified where there has been (1) “an intentional

and deliberate disregard of a provision in the Rule”; (2) where a defendant has been

prejudiced by the violation such that the search “might not have occurred” or “would not

have been so abrasive if the Rule had been followed,” and/or (3) where a defendant

was “deprived of a substantial procedural safeguard” provided for in Rule 41.” Turner,

supra, at 52-53. Further, the court concluded it must be “wary in extending the

exclusionary rule in search and seizure cases to violations of Rule 41 alone.” (internal

quotation omitted). Turner, supra, at 52 (citing United States v. Burke, 517 F.2d 377,

386 (2d Cir. 1975)). Ultimately, in Turner, the court found because the magistrate

determined there was probable cause for the search and authorized the issuance of the

warrant prior to the search, the magistrate’s failure to sign his name to the warrant did

not invalidate the warrant. Turner, supra, at 50 (“As long as the magistrate in fact

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performs the substantive tasks of determining probable cause and authorizing the

issuance of the warrant, the [Fourth] [A]mendment is satisfied.”) Other circuits have also

found that a magistrate judge’s failure to sign a search warrant does not, by itself,

invalidate the search warrant. United States v. Lipford, 203 F.3d 259, 269-70 (4th Cir.

2000); United States v. Kelley, 140 F.3d 596, 604 (5th Cir. 1998), cert. denied, 525 U.S.

908 (1998). See also Burke v. Town of Walpole, 405 F.3d 66, 78 (1st Cir. 2005)

(unsigned arrest warrant).

        In the instant case, the wherefore clause in the affidavit which accompanies the

search warrant states the undersigned has found probable cause to search premises

including 204 Bird Avenue. Additionally, the undersigned’s review and approval of the

warrant and related search is evident from the three places on the face of the warrant

and one at the end which contain the undersigned’s initials and the abbreviation “USMJ”

for United States Magistrate Judge. Moreover, neither the text of the Fourth

Amendment or Fed.R.Crim.P. 41, governing the issuance of federal search warrants

issued in person, rather than one issued telephonically or pursuant to Fed.R.Crim.P.

41(e)(3), require that the issuing judicial officer actually sign the warrant. 13

Significantly, the Fourth Amendment states that a warrant “shall issue” upon probable

cause established under oath; Rule 41(d) requires the magistrate judge “must issue the

warrant if there is probable cause to search . . ..” In the instant case, Pierce does not

dispute (1) that the applicant for the warrant personally appeared before the

undersigned and gave an oath in support of the search warrant, (2) that the


        13
             Fed.R.Crim.P. 41(e)(3) requires, in the case of a telephonic search warrant, that the issuing
judicial officer sign the original warrant promptly after its issuance.

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undersigned initialed the face of the warrant, and (3) contemporaneously signed

eighteen other similar search warrants based on the same affidavit. Under these

circumstances, there can be little doubt that the warrant was issued by the court, and

Defendant’s argument should be rejected.

       Where, as in Sheppard, supra, such an apparently inadvertent error was made

by the issuing judge, and not the officers who executed the search, the evidence will not

be suppressed because to do so would undermine the purpose of the Exclusionary

Rule, which is “to deter unlawful searches by police, not to punish the errors of

Magistrates and judges.” Illinois v. Gates, 462 U.S. 213, 263 (1983). Based on the

foregoing, Defendant Pierce’s motion to suppress evidence derived from the search of

204 Bird Avenue in Buffalo should be DENIED.



                                     CONCLUSION

       Based on the foregoing, Defendants’ motions (Doc. Nos. 61,63, 64, 65, 69) are

GRANTED, in part, and DENIED, in part, insofar as they seek non-dispositive relief.

Defendants’ motions to suppress should be DENIED.


SO ORDERED, as to Defendants’                    Respectfully submitted as to
non-dispositive motions,                         Defendants’ motions to suppress,

   /s/ Leslie G. Foschio                              /s/ Leslie G. Foschio
_________________________________                _________________________________
           LESLIE G. FOSCHIO                          LESLIE G. FOSCHIO
UNITED STATES MAGISTRATE JUDGE                   UNITED STATES MAGISTRATE JUDGE


DATED:        June 16, 2006
              Buffalo, New York


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         Pursuant to 28 U.S.C. §636(b)(1), it is hereby

         ORDERED that this Report and Recommendation be filed with the Clerk of the

Court.

         ANY OBJECTIONS to this Report and Recommendation must be filed with the

Clerk of the Court within ten (10) days of service of this Report and Recommendation in

accordance with the above statute, Rules 72(b), 6(a) and 6(e) of the Federal Rules of

Civil Procedure and Local Rule 72.3.

         Failure to file objections within the specified time or to request an extension

of such time waives the right to appeal the District Court's Order. Thomas v. Arn,

474 U.S. 140 (1985); Small v. Secretary of Health and Human Services, 892 F.2d 15 (2d

Cir. 1989); Wesolek v. Canadair Limited, 838 F.2d 55 (2d Cir. 1988).

         Let the Clerk send a copy of this Report and Recommendation to the attorneys for

the Government and the Defendants.

SO ORDERED.

                                                 /s/ Leslie G. Foschio
                                           _________________________________
                                                   LESLIE G. FOSCHIO
                                            UNITED STATES MAGISTRATE JUDGE


DATED:         June 16, 2006
               Buffalo, New York




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